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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
______________________________________________________________________

EXCLUSIVELY CATS VETERINARY
HOSPITAL, P.C.,

        Plaintiff,

v.                                                                 Case No. 19-11228

M/A/R/C RESEARCH, L.L.C.,

     Defendant.
__________________________________/

                                               JUDGMENT

        In accordance with the “Opinion and Order Granting Defendant’s Motion to

Dismiss and Denying as Moot Plaintiff’s Motion to Certify Class” entered on March 16,

2020,

        IT IS ORDERED AND ADJUDGED that judgment is entered for Defendant

M/A/R/C Research, L.L.C., and against Plaintiff Exclusively Cats Veterinary Hospital,

P.C. Dated at Port Huron, Michigan, March 16, 2020.

                                                           DAVID J. WEAVER
                                                           CLERK OF THE COURT

                                                           By: s/Lisa Wagner
                                                            Lisa Wagner, Case Manager
                                                            to Judge Robert H. Cleland
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